           Case 2:23-cv-00028-JNW     Document 41    Filed 12/18/24     Page 1 of 6




 1
                                                  HONORABLE JAMAL N. WHITEHEAD
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 7
                           UNITED STATES DISTRICT COURT
 8
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT SEATTLE

10
     JENIFER ESHOM,                               No. 2:23-cv-00028-JNW
11

12                                Plaintiff,      STIPULATED MOTION AND
                                                  PROPOSED ORDER TO CONTINUE
13         v.                                     CERTAIN CASE DEADLINES

14   KING COUNTY, a Washington municipal          NOTE ON MOTION CALENDAR:
     corporation,                                 NOVEMBER 27, 2024
15

16                              Defendant.

17                                                No. 2:24-cv-00007-JNW
     JOSEPH ESHOM,
18
                                     Plaintiff,
19

20        v.

21   KING COUNTY, a Washington municipal
     corporation,
22
                                    Defendant.
23

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25

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27

     STIPULATED MOTION AND PROPOSED
                                                                      PACIFICA LAW GROUP LLP
     ORDER TO CONTINUE CERTAIN CASE                                     1191 SECOND AVENUE
                                                                              SUITE 2000
     DEADLINES – 1                                                SEATTLE, WASHINGTON 98101-3404
                                                                      TELEPHONE: (206) 245.1700
                                                                      FACSIMILE: (206) 245.1750
              Case 2:23-cv-00028-JNW                Document 41            Filed 12/18/24         Page 2 of 6




 1            Plaintiffs Jenifer and Joseph Eshom and Defendant King County jointly request that this

 2   Court vacate and continue certain case deadlines, including Jenifer Eshom’s trial date, thereby

 3   establishing the case schedule set forth in the table below. 1

 4                  Event                           Current Deadline                      Requested Deadline
 5          Joseph Eshom Jury Trial                 September 8, 2025                      September 8, 2025
                   (8-10 days)
 6          Jenifer Eshom Jury Trial                    June 9, 2025                       November 3, 2025
 7                 (8-10 days)
         Deadline for Filing Amended               November 11, 2024                       November 11, 2024
 8                  Pleadings
         Disclosure of Non-Financial               November 11, 2024                       November 11, 2024
 9             Expert Testimony
         Disclosure of Non-Financial                December 11, 2024                      December 11, 2024
10
          Rebuttal Expert Testimony
11           Disclosure of Financial                December 9, 2024                        December 9, 2024
               Expert Testimony
12       Disclosure of Rebuttal Expert                January 9, 2025                        January 9, 2025
              Financial Testimony
13       Filing of Discovery Motions                December 11, 2024                       February 7, 2025
14            Discovery Complete                     January 10, 2025                        March 7, 2025
         Filing of Dispositive Motions               February 9, 2025                        April 7, 2025
15             Filing of Motions                     February 9, 2025                        April 7, 2025
              Challenging Expert
16         Witnesses Under Daubert
17               Joseph Eshom                          July 10, 2025                           July 10, 2025
             Settlement Conference
18               Joseph Eshom                          July 30, 2025                           July 30, 2025
               Motions In Limine
19               Joseph Eshom                        August 18, 2025                         August 18, 2025
            Deposition Designations
20
             Submitted to the Court
21               Joseph Eshom                        August 18, 2025                         August 18, 2025
             Agreed Pretrial Order
22           Submitted to the Court
                 Joseph Eshom                        August 25, 2025                         August 25, 2025
23           Trial Briefs, Proposed
24         Voir Dire Questions, and
          Proposed Jury Instructions
25           Submitted to the Court

26
     1
      The cumulative effect of these requested continuances is to provide the parties additional time for discovery in each
27   of these partially consolidated cases, affirm the trial date and trial related deadlines assigned to the case by
     Joseph Eshom, and continue the trial date and trial related deadlines assigned to the case by Jenifer Eshom.
     STIPULATED MOTION AND PROPOSED
                                                                                               PACIFICA LAW GROUP LLP
     ORDER TO CONTINUE CERTAIN CASE                                                                1191 SECOND AVENUE
                                                                                                         SUITE 2000
     DEADLINES – 2                                                                           SEATTLE, WASHINGTON 98101-3404
                                                                                                 TELEPHONE: (206) 245.1700
                                                                                                 FACSIMILE: (206) 245.1750
            Case 2:23-cv-00028-JNW             Document 41           Filed 12/18/24         Page 3 of 6




 1        Joseph Eshom Pretrial               September 1, 2025                      September 1, 2025
                Conference
 2            Jenifer Eshom                     April 10, 2025                       September 4, 2025
 3        Settlement Conference
              Jenifer Eshom                     April 30, 2025                       September 24, 2025
 4          Motions In Limine
              Jenifer Eshom                         May 19, 2025                      October 13, 2025
 5       Deposition Designations
          Submitted to the Court
 6
              Jenifer Eshom                         May 19, 2025                      October 13, 2025
 7        Agreed Pretrial Order
          Submitted to the Court
 8            Jenifer Eshom                         May 26, 2025                      October 20, 2025
          Trial Briefs, Proposed
 9       Voir Dire Questions, and
10      Proposed Jury Instructions
          Submitted to the Court
11            Jenifer Eshom                         June 2, 2025                      October 27, 2025
           Pretrial Conference
12

13          Good cause supports this joint request because:
14                 1. The parties are working amongst themselves to resolve discovery disputes
15   concerning:     (A) financial   disclosures,     (B) document     collection,     (C) written        discovery,
16   (D) complex e-discovery issues, and (E) deposition scheduling.
17                 2. After several discovery conferences, the parties reached discovery agreements they
18   believe will eliminate the need for motions or cross-motions to compel. The parties nevertheless
19   do not believe all document productions, written discovery, and depositions can reasonably be
20   completed before the current discovery cutoff of January 10, 2025.
21                 3. Providing the parties their requested continuance will therefore conserve judicial
22   resources as well as help facilitate just, speedy, and inexpensive determinations in this action.
23   Fed. R. Civ. P. 1.
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     STIPULATED MOTION AND PROPOSED
                                                                                        PACIFICA LAW GROUP LLP
     ORDER TO CONTINUE CERTAIN CASE                                                          1191 SECOND AVENUE
                                                                                                   SUITE 2000
     DEADLINES – 3                                                                     SEATTLE, WASHINGTON 98101-3404
                                                                                           TELEPHONE: (206) 245.1700
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         Case 2:23-cv-00028-JNW         Document 41      Filed 12/18/24     Page 4 of 6




 1       Stipulated to this 27th day of November 2024.

 2       PACIFICA LAW GROUP LLP                     LAW OFFICE OF BRIAN FAHLING

 3       s/ Jessica A. Skelton                       s/Brian Fahling
         Jessica A. Skelton, WSBA #36748            Brian Fahling, WSBA #18894
 4
                                                    Attorney for Plaintiffs
 5       s/ Zachary J. Pekelis
         Zachary J. Pekelis, WSBA #44557
 6
         s/ Jacob A. Zuniga
 7       Jacob A. Zuniga, WSBA #48458
 8
         Attorneys for Defendant King County
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     STIPULATED MOTION AND PROPOSED
                                                                          PACIFICA LAW GROUP LLP
     ORDER TO CONTINUE CERTAIN CASE                                         1191 SECOND AVENUE
                                                                                  SUITE 2000
     DEADLINES – 4                                                    SEATTLE, WASHINGTON 98101-3404
                                                                          TELEPHONE: (206) 245.1700
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          Case 2:23-cv-00028-JNW          Document 41        Filed 12/18/24      Page 5 of 6




 1                                    [PROPOSED] ORDER

 2        The Court grants the parties’ stipulated motion. The following deadlines are established:

 3

 4              Event                     Current Deadline               Requested Deadline
 5      Joseph Eshom Jury Trial           September 8, 2025               September 8, 2025
               (8-10 days)
 6      Jenifer Eshom Jury Trial             June 9, 2025                 November 3, 2025
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             Jenifer Eshom                  April 10, 2025                September 4, 2025
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     STIPULATED MOTION AND PROPOSED
                                                                              PACIFICA LAW GROUP LLP
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 4           Jenifer Eshom                     May 19, 2025                  October 13, 2025
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 8       Submitted to the Court
             Jenifer Eshom                      June 2, 2025                 October 27, 2025
 9        Pretrial Conference
10

11          The Court adds that, absent extraordinary circumstances, this will be the final trial

12   continuance in these partially consolidated cases.
13          Dated this 18th day of December, 2024.
14

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                                                  A
                                                  Honorable Jamal N. Whitehead
17                                                United States District Court Judge
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     STIPULATED MOTION AND PROPOSED
                                                                                 PACIFICA LAW GROUP LLP
     ORDER TO CONTINUE CERTAIN CASE                                                 1191 SECOND AVENUE
                                                                                          SUITE 2000
     DEADLINES – 6                                                            SEATTLE, WASHINGTON 98101-3404
                                                                                  TELEPHONE: (206) 245.1700
                                                                                  FACSIMILE: (206) 245.1750
